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                           UNITED STATES BANKRUPTCY COURT

                                 SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov

In re:
                                                    Case No. 15-15051-RAM
QUINTIN LARIOS                                      Chapter 7
MARIA LARIOS
      Debtors.
_____________________________/

LEAN CRESPO,
      Plaintiff,                                    Adv. Proc. No 16-01014-RAM
v.

QUINTIN LARIOS AND MARIA LARIOS
      Defendants.
_____________________________/

                                    REPORT OF MEDIATOR

         The undersigned court-appointed mediator, reports to the court as follows:

                   A.    A mediation conference was conducted on November 30th, 2017.
                   B.    The conference was adjourned to February 1st, 2018 and March 29th,
                         2018.
                   C.    The conference resulted in the following:
         The parties reached an IMPASSE.

 Attendance:

 Parties and all Counsel present


 Dated: April 18, 2018
                                                             Anthony A. Roca, Esq.
                                                             Supreme Court Certified Mediator
                                                             1400 NW 107th Ave, Suite 209
                                                             Miami, FL 33172-2746
                                                             Office 305.771.3529
                                                             Fax 305.709.0585

                                                             By:__/s/ Anthony A. Roca
                                                             ANTHONY A. ROCA, ESQ.
                                                             Mediator Number: 23849 FR
 Copies to:
        • Ricardo Corona, Esq.
        • Timothy S. Kingcade, Esq.
